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                                                                                    FILED
                                                                         UNITED STATES DISTRICT COURT
                                                                              DENVER, COLORADO
                                                                                  01/23/2024
United States District Court                                               JEFFREY P. COLWELL, CLERK
For the
District of Colorado

Ryan Shawhan Kehoe v. Kevin Bradley Kehoe

Civil Action No. 1:23-cv-01752-STV

Defendant’s answer to Plaintiff's Complaint

I, Defendant Kevin Kehoe, answer the Complaint as follows:

A. PLAINTIFF INFORMATION
Defendant is without knowledge but reasonably presumes this to be accurate.

B. DEFENDANT INFORMATION
Admitted.

C. JURISDICTION
Plaintiff: Defendant is without knowledge but reasonably presumes this to be accurate.
Defendant: Admitted.

D. CLAIMS

CLAIM ONE: DEFAMATION OF CHARACTER
   1. Does not require a response.
   2. Does not require a response.
   3. Admitted in part, denied in part. Defendant relocated to New Jersey in January 2023.
   4. Denied.
   5. Denied.
   6. Denied in part. Admitted communication with Mr. Deehtan. Denied due to speculation.
   7. Defendant is without knowledge.
   8. Denied.
   9. Denied in part, Defendant is without knowledge to the factual accuracy.
   10. Defendant is without knowledge.
   11. Denied.
          a. Denied.
          b. Admitted in part. Defendant is without knowledge in part. Admitted Defendant
             advised Plaintiff of siad hockey injury, Defendant is not a medical expert.
          c. Denied.
          d. Defendant is without knowledge.
   12. Denied.
          a. Denied.
          b. Denied.
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          c. Defendant is without knowledge.
          d. Denied.
   13. Denied.
   14. Denied.
   15. Denied.
   16. Denied.
   17. Denied.

CLAIM TWO: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
   18. Does not require a response.
   19. Admitted.
   20. Denied.
   21. Denied.
   22. Denied.
   23. Denied.
   24. Admitted defendant contacted plaintiff. Denied in that the alleged statement by
       Defendant is contextually erroneous.
   25. Admitted defendant contacted plaintiff. Denied in that the alleged statement by
       Defendant is contextually erroneous.
   26. Admitted defendant contacted plaintiff. Denied in that the alleged statement by
       Defendant is contextually erroneous.
   27. Denied.
   28. Denied.
   29. Denied.
   30. Denied
   31. Denied.
   32. Denied
   33. Denied
   34. Denied.

CLAIM THREE: CONVERSION AND CIVIL THEFT
   35. Does not require a response.
   36. Admitted in part, denied in part. Defendant relocated to New Jersey in January 2023.
   37. Does not require a response.
   38. Denied.
   39. Denied.
   40. Admitted.
   41. Admitted in part. Denied in that the alleged statement by Defendant is without
       knowledge.
   42. Defendant is without knowledge.
   43. Denied.
   44. Denied. Defendant did not have a dog at that time.
   45. Defendant is without knowledge.
   46. Denied.
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   47. Denied.
   48. Denied in part, Defendant is without knowledge in part. The first sentence is denied.
       Defendant is without knowledge as to the second sentence.
   49. Defendant is without knowledge as he was not a party to the case.
   50. Denied.
   51. Denied
          a. Admitted in part. Denied in that the alleged statement by Defendant is without
              knowledge.
          b. Defendant is without knowledge.
          c. Defendant is without knowledge.
          d. Defendant is without knowledge.
          e. Defendant is without knowledge.
          f. Defendant is without knowledge.
          g. Defendant is without knowledge.
   52. Admitted I was in FL, Denied
          a. Denied. Plaintiff is not privy to the actions, personal habits, or financial activity of
              Plaintiff.
          b. Denied. Plaintiff is not privy to the actions, personal habits, or financial activity of
              Plaintiff.
          c. Denied. Plaintiff is not privy to the actions, personal habits, or financial activity of
              Plaintiff.
          d. Denied. Plaintiff is not privy to the actions, personal habits, or financial activity of
              Plaintiff.
          e. Denied. Plaintiff is not privy to the actions, personal habits, or financial activity of
              Plaintiff.
          f. Denied. Plaintiff is not privy to the actions, personal habits, or financial activity of
              Plaintiff.
          g. Denied. Plaintiff is not privy to the actions, personal habits, or financial activity of
              Plaintiff.
          h. Denied. Plaintiff is not privy to the actions, personal habits, or financial activity of
              Plaintiff or his girlfriend, who is not a Party to this case.
   53. Statement of conjecture which does not require a response.
   54. Statement of conjecture which does not require a response.
   55. Does not require a response.
   56. Without knowledge/Denied
